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UNITED sTATEs DISTRICT coURT ' in ay -V` D.q
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WDO; l1'\1 tidy-jeffan
Plaintiff,
' Case No.
05- QWSé~/I/(t
ECONOMY BoAT sToRE,

Defendant.
/

ORDER OF PERMISSION TO PARTICIPATE

 

The matter having come before the Court upon attorney Dennis M. O’Bryan’s Motion and
the Court being fully advised in the premises; now therefore;

IT IS HEREBY ORDERED that Dennis M. O’Bryan is given permission to participate in this

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@TRICT coURT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CV-02456 Was distributed by faX, mail, or direct printing on
June 30, 2005 to the parties listed.

 

 

Dennis M. O'Bryan

O'BRYAN BAUN COHEN KUEBLER
401 S. Old Woodward

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Birmingham, l\/H 48009

Honorable J on McCalla
US DISTRICT COURT

